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 8                          UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
10                                    WESTERN DIVISION
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     ALEJANDRO RODRIGUEZ, et al.,              ) Case No. CV 07-3239-TJH (RNBx)
12                                             )
                  Petitioners,                 ) [Proposed] ORDER GRANTING JOINT
13                                             )
           vs.                                 ) STIPULATION FOR ENLARGEMENT OF
14                                             ) PAGES FOR BRIEFING THE MOTION
     TIMOTHY S. ROBBINS, in his                ) FOR A PRELIMINARY INJUNCTION
15   capacity as U.S. Immigration and          )
     Customs Enforcement, Los Angeles          ) AND FOR EXTENSION OF THE
16   District Field Office Director, et al.,   ) HEARING DATE ON PETITIONERS’
                                               ) MOTION
17                                             )
                  Respondents.                 )
18                                             )
19

20         Before the Court is the parties’ Joint Stipulation for the enlargement of page
21   limitations for briefing Petitioners’ Motion for a Preliminary Injunction (ECF # 232),
22   previously filed June 25, 2012, and for an extension of time for Petitioners to file their
23   reply in support of their motion. The parties’ Joint Stipulation is GRANTED.
24         IT IS ORDERED that the page limitation for Respondents’ memorandum in
25   opposition to Petitioners’ motion for a preliminary injunction motion is enlarged to 35
26   pages, and the page limitation for Petitioners’ reply memorandum is enlarged to 35
27   pages. Petitioners’ shall file their reply in support of their motion for a preliminary
28
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 1   injunction on or before August 3, 2012. The matter will be taken under submission
 2   for consideration and determination, unless this Court orders otherwise.
 3

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 5   Dated: July __, 2012            ________________________________________
 6                                             Terry J. Hatter, Jr.
                                     SENIOR UNITED STATES DITRICT JUDGE
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                                    ID #:3266


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                                      ID #:3267


 1                              CERTIFICATE OF SERVICE
 2
           I certify that on July 18, 2012, I served a copy of the foregoing through the
 3   Court’s CM/ECF system on the following counsel of record:
 4
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20                                              /s/ Theodore W. Atkinson
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21                                              Senior Litigation Counsel
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